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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
                       _____________________________________

JOHN KELLEY, et al.,

        Plaintiffs,

v.                                                  Civil Action No. 4:20-cv-00283-O

XAVIER BECERRA, et al.,

        Defendants.


                CONSENT MOTION TO AMEND BRIEFING SCHEDULE

        Defendants respectfully request the Scheduling Order (ECF No. 76) be amended to extend

Defendants’ deadline to file their Reply in Support of Cross-Motion for Summary Judgment

(“Reply”) from May 6, 2022 to May 26, 2022.

        Defendants are requesting this extension (1) because unanticipated other work

responsibilities have interfered with the undersigned’s ability to complete the Reply in the time

required by the current schedule; (2) because the undersigned’s co-counsel has been on leave and

unavailable to assist with the Reply; and (3) in order to facilitate the coordination of multiple

agencies in light of the complexity of the matter. The parties have conferred and Plaintiffs consent

to the schedule set forth above.
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                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General

                                                    MICHELLE R. BENNETT
                                                    Assistant Branch Director

                                                     /s/ Christopher M. Lynch
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                             Attorneys for Defendants Xavier Becerra,
                      Janet L. Yellen, Martin J. Walsh, and the United States




                                       Certificate of Service


       On May 3, 2022, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of

the court. I hereby certify that I have served all parties who have appeared in the case electronically

or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                       /s/ Christopher M. Lynch
                                                       Christopher M. Lynch
